10/9/2020                    Case 1:19-cv-03599-GMH     Document
                                               HERISCHI &            10-1
                                                          ASSOCIATES LLC M -Filed 10/09/20
                                                                            F : FSIA S    P Page 1 of 1


                                                                                                                    B     H             <     @          .   >



 F d: FSIA Service of Process
 H     ,J      N <HessJN@state.go >                                                                                               T e, Oct 6, 2020 at 4:10 PM
 To: Ali Herischi <ali.herischi@ibhla .com>
 Cc: Brett Harshbarger <brett@ibhla .com>, "McPherson, Michael" <McPhersonMC@state.go >


   Hi Mr. Herischi,

   At the moment the documents are s ll with the Swiss in Tehran. I hope to have an update in the next week or two. If you don’t hear from us by the
   1 th, reach out to our oﬃce and we can see if we can get an update from our colleagues in Bern.



   Best,

   Jared N He

   U S Department of State

   L CA POG GC Teleworking

   E mail: HessJN state gov




   F     Ali Herischi a .     c @ b a .c
   Se Tuesday, October , 2020 :0 PM
   T Hess, Jared N H      JN@ a .
   Cc Bre Harshbarger b @ b a .c         ; McPherson, Michael McP                      MC@ a .
   S bjec Re: FSIA Service of Process


   Dear Mr. Hess,



   We recei ed cop of ser ices performed, thank o .



   Also, o ld o         pdate s abo t these cases as   ell?



   Da e D ba . I a , e a ., Case N mber 1:20-c -00240

   Ma h A         e ad . I a , e a ., Case N mber 1:19-c -3599-EGS

   Regards




   On T e, Sep 15, 2020 at 9:03 AM Hess, Jared N <HessJN@state.go >          rote:

          Good Morning,

          Please see the a ached courtesy copies of the diploma c notes in the cases listed below. Per the a ached, the Swiss Foreign Interests Sec on
          a empted to deliver each on August 1 th.



          Best,

    ://      .      .    /    / /0? =631 26   2&     = &       = &             =     - %3A1679834488363817539&      =1&       =   - %3A1679834488363         1/6
